                 Exhibit E




Case 2:20-cv-01169-BHL Filed 08/27/20 Page 1 of 21 Document 14-5
                                                         WINTHROP
                                                            ATTORNEYS      AND   COUNSELORS       AT   LAW




          July 26, 2017                                                                                                   David A. Davenport
                                                                                                                          Direct Dial: (612) 604-6716
                                                                                                                          Direct Fax: (612) 604-6816
                                                                                                                          ddavenport(a)winthrop.com


                                                                                         VIA FEDERAL EXPRESS OVERNIGHT

           Bane One Tax Credit Fund IX, LLC                                          Nixon Peabody LLP
           c/o Wentwood Capital Advisors, L.P.                                       101 Federal Street
           2560 River Park Drive, Suite 320                                          Boston, MA 02110
           Fort Worth, TX 76116                                                      Attn: Robert H. Adkins, P.C.
                                                                                     File Reference 30598-44

           BOC IX Asset Management, LLC                                              Reinhart, Boerner, Van Dueren, Norris &
           c/o Bane One Capital Markets                                              Reiselbach, S.C.
           150 East Gay Street                                                       1000 North Water Street
           Mail Code OH1-1222                                                        Milwaukee, WI 53202
           22nd Floor                                                                Attn: William Cummings, Esq.
           Columbus, OH 43215
           Attn: Charles W. Ewing, Jr.

           SCDC, LLC                                                                 ORC Tax Credit Fund 10, LLC
           Wentwood ORC Funds, LLC                                                   c/o Wentwood Capital Advisors, L.P.
           515 South Capital ofTexas Highway                                         515 South Capital ofTexas Highway
           Suite 250                                                                 Suite 103
           Austin, TX 78746                                                          Austin, TX 78746
                                                                                     Attn: Tami Holtz

         Re:            Centennial, LLC

         Dear Limited Members and Interested Parties:

         Please be advised that Winthrop & Weinstine, P.A., represents Centennial Partners, LLC
         ("Centennial Partners"). Centennial Partners is the Managing Member of Centennial, LLC (the
         "Company"). Bane One Tax Credit Fund IX, LLC ("Bane One"), was the original Investor
         Limited Member of the Company, and BOC IX Asset Management, LLC ("BOC") was the
         original Special Limited Member ofthe Company. ORC Tax Credit Fund 10, LLC, is the current
         Investor Limited Member of the Company ("ORC"), and SCDC, LLC, is the current Special
         Limited Member of the Company ("SCDC") (Bane One, BOC, ORC, and SCDC are collectively
         referred to as the "Limited Members"). The Company is governed by the Amended and Restated
         Operating Agreement dated as of August 1, 2000 (the "Operating Agreement"). Capitalized terms



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                         Case
                    Suite 3500  2:20-cv-01169-BHL Filed 08/27/20
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July 26, 2017
Page2


not otherwise defined in this letter shall have the meaning given to those terms in the Operating
Agreement.

By letter dated June 19,2017, Centennial Partners exercised its right under Section 6.16.A ofthe
Operating Agreement to purchase the Interest of the Limited Members, on the terms and conditions
set forth in Section 6.16, and otherwise without condition or qualification. A copy of Centennial
Partners' Exercise of Managing Members' Option Under§ 6.16.A, along with the accompanying
cover letter, are enclosed herewith as Exhibit A.

In response to Centennial Partners' exercise of its purchase option, Centennial Partners received a
letter from Mr. Brian Brandstetter ofWentwood Capital Advisors, L.P., dated July 5, 2017. In his
letter, Mr. Brandstetter recognized the exercise of the purchase option and identified ORC Tax
Credit Fund 10, LLC, as the Investor Limited Member and SCDC, LLC, as the Special Limited
Member. A copy of Mr. Brandstetter's letter is also enclosed herewith as Exhibit B.

Centennial Partners has no record that either Limited Member ever substituted an assignee in its
place or that a Substitute Limited Member was ever admitted in accordance with Section 9.2 of
the Operating Agreement. Consequently, Centennial Partners delivered its notice of exercise of
its purchase option to the original Limited Members in accordance with the terms of the Operating
Agreement. However, in light of Mr. Brandstetter's correspondence, we respectfully request
documentation be provided to confirm any substitution of any assignees. Further, while notice of
the exercise of the purchase option has been previously provided and accepted by the Limited
Members and its agents, Centennial Partners is, through this letter, supplementing its June 19,
2017, notice of exercise of its purchase option by additionally conveying its notice of its Exercise
of Managing Members' Option Under§ 6.16.A to ORC Tax Credit Fund 10, LLC, and SCDC,
LLC. Accordingly, enclosed herewith as Exhibit C is a copy of Centennial Partners'
Supplemental Exercise of Managing Members' Option Under§ 6.16.A, updated to include ORC
Tax Credit Fund 10, LLC, and SCDC, LLC, as recipients.

Ifyou have any questions, please feel free to contact me. You may reach me at (612) 604-6716 or
via email at ddavenport@winthrop.com.

Very truly yours,

WINTHROP & WEINSTINE, P.A.

f)1lt1,{A. l;l1vwtpvt(@;)
David A. Davenport

Enclosures

cc:      John J. Wimmer
13925574v2




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                                                          Exhibit A



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                                               ~
                                               WIMMER
                                               COMMUNITIES




   June 19,2017
                                                                              VIA CERTIFIED U.S. MAIL

  Bane One Tax Credit Fund IX, LLC                       Nixon Peabody LLP
  c/o Wentwood Capital Advisors, L.P.                    101 Federal Street
  2560 River Park Drive, Suite 320                       Boston, MA 02110
  Fort W01ih, TX 76116                                   Attn: Robert H. Adkins, P.C.
                                                         File Reference 30598-44

  .BOC IX Asset Management, LLC                         Reinhmi, Boerner, Van Dueren, Norris &
   c/o Bane One Capital Markets                         Reiselbach, S.C.
   150 East Gay Street                                  1000 N01ih Water Street
  Mail Code OHl-1222                                    Milwaukee, WI 53202
  22nd Floor                                            Attn: William Cummings, Esq.
  Columbus, OH 43215
  Attn: Charles W. Ewing, Jr.


 Re:     Centennial, LLC

 Dear Limited Members:

I write on behalf of Cente1mial Partners, LLC ("Centennial Partners"), Managing Member of
 Centem1ial, LLC, (the "Company"). The Company is governed by the Amended and Restated
Operating Agreement dated as of August 1, 2000 (the "Operating Agreement"). Bane One Tax
Credit Fund IX, LLC ("Bane One"), is the Investox Limited Member of the Company, and BOC
IX Asset Management, LLC ("BOC") is the Special Limited Member of the Company (Bane
One and BOC are collectively referred to as the "Limited Members"). Capitalized terms not
otherwise defined in this letter shall have the meaning given to those terms in the Operating
Agreement.

Enclosed please find Centennial Partners' written notice of exercise of it-s option to purchase the
Interest of the Limited Members pursuant to Section 6.16.A of the Operating Agreement
("Notice"), on the terms and conditions set forth in Section 6.16, and otherwise without
condition or qualification.

As provided in Section 6.16.A of the Operating Agreement, at any time during the period
begitming ninety (90) days prior to the expiration of the Compliance Period and ending twelve
(12) months after the expiration of the Compliance Period, Centennial Partners may exercise its

                             Distinctive Residential Communities
                        5300 S. 108th Street, Suite 1, Hales Corners, WI 53130-1331
                                 Phone: 414-529-3900 Fax: 414-529-5348                            ).ICTROt'OLITAN

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                                     www.wimmercommunities.com
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    June 19, 2017
    Page2


   option to purchase the Property or the Interest of the Limited Members by delivering written
   notice to the Limited Members, which shall specify whether the Notice is being exercised with
   respect to the Property or the Interest of the Limited Members and that the option otherwise is
   exercised without condition Dr qualification. The Compliance Period ended on December 31,
   2016, and Cente1mial Partners seeks to purchase the Interest of the Limited Members.
   Centennial Pminers has timely exercised its option to purchase the Interest of the Limited
   Members in accordance with Section 6.16.A by contemporaneously providing the required
   written notice to the Limited Members as set forth in the enclosed Notice.

  Section 6.16.A further provides that the purchase price for the Interest of the Limited Member
  shall be the fair market value of that Interest, as determined by an appraisal of the Interest:

          The purchase price for the Property or the Interest of the Limited Members under
          the option shall be the fair market value of the applicable asset at the time of the
          exercise of the option (in either case, the "Fair Market Value"). The Fair Market
         Value shall be determined by an appraisal of the applicable asset performed by an
         appraiser selected jointly by the Managing Members and the Special Limited
         Member. Any appraiser so selected shall be an MAl appraiser, with at least five
         (5) years of relevant .experience. In conducting the appraisal, the appraiser shall
         take into account any -requirements that the Property remain dedicated for the use
         of low-income households pursuant to any restrictions under any loan agreements
         and/or regulatory agreements, or otherwise, and shall take into account any tax
         benefits or other subsidy or financing benefits available with respect to the
         Property.

 Operating Agreement § 6.16.A (emphasis added).

  In accordance with the above provision, there are two separate assets for which the Managing
  Member holds a purchase option, and the purchase price for the optioned asset is to be
  determined by an appraisal of the applicable asset. Thus, in order to establish the purchase price
  for the Interest, the appraiser must establish the Fair Market Value of the Interest, not the Fair
  Market Value of the Property. In conducting this appraisal, we expect the appraiser will
 therefore establish the Fair Market Value of the Interest in the Company as a going concern,
 using generally accepted valuation methods, including analyzing the price paid for the
 acquisition·ofthe Interest by Wentwood Capital Advisors, L.P., and the application ofvaluation
 discounts for the lack of marketability, lack of con1.Tol, and applicable restrictions, including (for
 instance) rent restrictions pursuant to the Land Use Restriction Agreement, on the Company's
primary asset (the Prope1iy). In other words, because Centennial Pminers is not exercising its
option to purchase the Prope1iy, we do not expect that the appraiser will establish the Fair
Market Value of the Prope1iy nor consider the Limited Partners' hypothetical receipt of proceeds·
in the event of a sale of the Prope1iy as it too is immaterial to Cente1mial Pminers' exercise of its
option to purchase the Limited Members' Interest in the Company.




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  June 19, 2017
  Page3


 As set forth in Section 6.16.A, the appraiser of the Interest shall be an MAr appraiser with at
 least five (5) years of relevant experience, jointly selected by Centelll1ial Partners and BOC.
 Centennial Pminers suggests that the patties select S. Steven Vitale, MAI as the appraiser.
 Please let us lmow by no later than June 27, 2017, if BOC wi11- agree to use S. Steven Vitale,
 MAI as the appraiser.

 We look forward to hearing from you.

 Sincerely,       ~



JoE:tr
Member
Centennial Partners, LLC


Enclosure


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                                            WIMMER
                                            COMMUNITIES


   June 19, 2017

  Bane One Tax Credit Fund IX, LLC                    Nixon Peabody LLP
  c/o Wentwood Capital Advisors, LT                   101 Federal Street
  2560 River Park Drive, Suite 320                    Boston, MA 0211 0
  Fmi Wmih, TX 76116                                  Attn: Roberi H. Adkins, P.C.
                                                      File Reference 30598-44

 BOC IX Asset Management, LLC                         Reinhmi, Boerner, Van Dueren, Norris &
 c/o Bane One Capital Markets                         Reiselbach, S.C.
 150 East Gay Street                                  1000 Nmih Water Street
 Mail Code OH1-1222                                   Milwaukee, WI 53202
 22nd Floor                                           Attn: William Cummings, Esq.
 Columbus, OH 4 3215
 Attn: Charles W. Ewing, Jr.


             EXERCISE OF MANAGING MEMBERS' OPTION UNDER § 6.16.A

 Re:    Centennial, LLC

 Dear Limited Members:

Centennial Partners, LLC ("Centennial Partners") is the Managing Member of Centetmial, LLC,
(the "Company"). Bane One Tax Credit Fund IX, LLC ("Bane One"), is the Investor Limited
Member of the Company, and BOC IX Asset Management, LLC ("BOC") is the Special
Limited Member of the Company (Bane One and BOC are collectively referred to as the
"Limited Members"). The Company is governed by the Amended and Restated Operating
Agreement dated as of August 1, 2000 (the "Operating Agreement"). Capitalized terms not
otherwise defined in this letter shall have the meaning given to those terms in the Operating
Agreement.

This letter shall constitute written notice that Centennial Partners is exercising its
right under Section 6.16.A of the Operating Agreement to purchase the Interest of
the Limited Members, on the terms and conditions set forth in Section 6.16, and
otherwise without condition or qualification.

As provided in Section 6.16.A of the Operating Agreement, at any time during the period
beginning ninety (90) days prior to the expiration of the Compliance Period and ending

                           Distinctive Residential Communities
                      5300 5. 108th Street, Suite l, Hales Corners, WI 53130-1331
                               Phone: 414-529-3900 Fax: 414-529-5348                           />.l(TfiOfOI-ITAt-1
                                                                                               BUILDERS
                                   www.wimmercommunities.com                                   ~

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   twelve (12) months after the expiration of the Compliance Period, Centennial Partners
   may exercise its option to purchase the Property or the Interest of the Limited Members.
   The Compliance Period ended on December 31, 2016, and Centennial Partners seeks to
   purchase the Interest of the Limited Members.

  The purchase price for the Interest of the Limited Member shall be the fair market value
  of that Interest, as determined by an appraisal of the Interest. As set forth in Section
  6.16.A, the appraiser of the Interest shall be an MAl appraiser with at least five (5) years'
  relevant experience, jointly selected by Centennial Partners and BOC. Centennial
  Partners hereby suggests that the parties select S. Steven Vitale, MAl as the appraiser.
  For the convenience of BOC, S. Steven Vitale, MAl's curriculum vitae is enclosed.

 Please respond in writing no later than June 27, 2017 with your acceptance of S. Steven Vitale,
 MAl as the appraiser and Centennial Pmtners will promptly engage S. Steven Vitale, MAl to
 begin the appraisal process. Pursuant to Section 6.16.A, within sixty (60) days of receipt ofthe
 appraiser's appraisal report by Centennial Pmtners and the Limited Members, Centennial
 Partners will provide appropriate documentation and payment to effectuate the sale of the
 Limited Members' Interest to Centennial Partners.

 If you have any questions, please feel free to contact me. You may reach me at (414)
 529.3900 or via email at Jolm@wirnn1erbrothers.com.




Centennial Partners, LLC

Enclosure

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       Case 2:20-cv-01169-BHL Filed 08/27/20 Page 9 of 21 Document 14-5
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     Qualifications of S. Steven Vitale, MAI
     Senior Managing Director
     Valbridge Property Advisors I Vitale Realty Advisors, LLC


     lndeoendent Valuations for a Variable World
                                                             Overview
    State Certifications                                     Commercial real estate consultant experienced in a wide
    Wisconsin Certified General Appraiser -                  variety of complex appraisal and consulting assignments.
    License No. 506-10                                       Background includes exposure to multiple property types
                                                             and markets. Specialized in valuation of special purpose and
    Education                                                investment property including hotels, golf courses, mixed-
   University of Wisconsin - Madison:                        use land developments, office, retail, industrial, senior
   Masters of Science degree in Real Estate                  housing, and multi-family properties. Experienced in
   Appraisal and Investment Analysis.                       condemnation and property tax appraisals and have testified
   Graduated with distinction in May 1991.                  as an expert in multiple cases. Working knowledge of
                                                            multiple computer applications for real estate valuation
   University of Wisconsin - Milwaukee:                     analysis. Clients served include financial institutions, banks,
   Bachelor of Business Administration                      insurance companies, corporations, government agencies,
   with majors in finance and real estate.                  developers, attorneys and individuals.
   Graduated in August 1988.
                                                            Experience
                                                        2013 - Present
   Designations
                                                        Senior Managing Director
   MAI - Appraisal Institute, Member
                                                        Valbridge Property Advisors I Vitale Realty Advisors, LLC
   (1995)
                                                        1998 - Present
  Organizations                                         Vitale Realty Advisors, LLC- President/Member
  Appraisal Institute                                   Brookfield, Wisconsin
  Commercial Association of Realtors WI
 Univ. of WI Real Estate Alumni Assoc.                  1994-1998
 National Golf Foundation                               Moegenburg Research, Inc. -Appraiser
 WI Innkeepers Association                              Elm Grove, Wisconsin
 International Right of Way Association
                                                       1993-1994
 Contact Details                                       Gloodt Associates, Inc. -Appraiser
 262-782-7990 (p)                                      Chicago, Illinois and Elm Grove, Wisconsin
 262-782-7590 (f)
                                                       1991-1992
 Valbridge Property Advisors I                         Arthur Andersen & Co. -Staff Appraiser
 Vitale Realty Advisors, LLC                           Chicago, Illinois
 12660 W. North Ave.
 Brookfield, WI 53005                                 1988-1989
                                                      Ogden & Co. -Commercial Broker
www.valbridge.com                                     Milwaukee, Wisconsin
svitale@valbridge.com



VALBRIDGE PROPERTY ADVISORS I Vitale Realty Advisors, LLC




      Case 2:20-cv-01169-BHL Filed 08/27/20 Page 10 of 21 Document 14-5
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     Qualifications of S. Steven Vitale, MAl

     Page2

     Representative Clients                                  List of Recent Presentations
     State of Wisconsin
              Dept. of Justice                               2013    Condemnation     Appraisal     Symposium;      Topic:
              Dept. of Transportation                        Involuntary Secondary Use of Appraisals
             Dept. of Natural Resources
                                                             2013 UW Real Estate Alumni Association; Topic: Behind the
    Municipalities                                           Loan Committee: A Roundtable Discussion
           City of Mequon
           City of Grafton                                  2012   Condemnation    Appraisal     Symposium;     Topic:
           City of Stevens Point                            Measuring Severance Damages in Partial Taking Cases
           City of Waukesha
           City of Brookfield                               2011 Appraisal Institute Year in Review; Topic: The State of
           City of Oak Creek                                the Office Market
           Waukesha County
                                                            2011 Commercial Association of Realtors Wisconsin
   School Districts                                         Roundtable Forum; Topic: Commercial Property Values
          Waukesha
          Elmbrook                                          2011 Wisconsin State Bar Association Real Estate and
          Mequon                                            Business Law Institute Program; Topic: Real Estate Valuations
          Wauwatosa                                         in the Current Economic Downturn


   Law Firms                                            2011 International Right of Way Association - IRWA Badger
           Foley & Lardner                              Chapter 17; Topic: Golf and Hotel Valuation -With Special
           Michael Best & Friedrich                     Consideration to Partial Taking Impacts
           Reinhart Boerner Van Deuren
           Axley Brynelson                              2011 Condemnation Appraisal Symposium; Topic: Use of
           Whyte Hirschboeck Dudek                      Subsequently Acquired Knowledge in the Determination of
                                                        Just Compensation
  Banks
             BMO Harris Bank                           2009 and 2011 Concordia University - Real Estate
             Associated Bank                           Investments Class MBA Program Guest Speaker; Topic: An
             JP Morgan Chase Bank                      Overview of Commercial Real Estate Appraisal
             Johnson Bank
             US Bank                                   2010 Condemnation Appraisal Symposium; Topic: Damages
             Anchor Bank                               to Property During Construction:   Compensable? How
                                                       Measured?
 Other
            UW Medical Foundation                      2009 and 2010 Commercial Assoc. of Realtors Wisconsin
            American Transmission Co.                  Roundtable Forum; Topic: Commercial Property Values
            The Conservation Fund
            Schenck SC                                2009 Appraisal Institute Year in Review; Topic: The State of
            ProHealth Care                            the Retail Market




VALBRIDGE PROPERTY ADVISORS I Vitale Realty Advisors, LLC




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     Information on Valbridge Property Advisors
    Valbridge covers the U.S. from coast to coast, and is one of the Top 3 national commercial real estate
    valuation and advisory services firms based on:

            •        Total number of MA!s (163 on staff)
            •        Total number of office locations (60 across the U.S.)
            •        Total number of staff (600+ strong)

    Valbridge is owned by our local office leaders. Every Valbridge office is led by a senior managing
    director who holds the MAl designation of the Appraisal Institute.

   Valbridge services all property types, including:

           •     Office
           •     Industrial
          •      Retail
          •      Apartments/multifamily/senior living
          •      Lodging/hospitality/recreational
          •      Land
          •      Special-purpose properties


  Valbridge welcomes single-property assignments as well as portfolio, multi-market and other
  bulk-property engagements. Specialty services include:

        •        Portfolio valuation
        •        REO/foreclosure evaluation
        •        Real estate market and feasibility analysis
       •         Property and lease comparables, including lease review
       •         Due diligence
       •         Property tax assessment and appeal-support services
       •        Valuations and analysis of property under eminent domain proceedings
       •        Valuations of property for financial reporting, including goodwill impairment, impairment or
                disposal of long-lived assets, fair value and leasehold valuations
      •         Valuation of property for insurance, estate planning and trusteeship, including fractional interest
                valuation for gifting and IRS purposes
      •         Cost segregation studies
      •         Litigation support, including expert witness testimony
                Business and partnership valuation and advisory services, including partial interests




VALBRIDGE PROPERTY ADVISORS I Vitale Realty Advisors, LLC




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                                                           Exhibit B



Case 2:20-cv-01169-BHL Filed 08/27/20 Page 13 of 21 Document 14-5
                                                                                                        Bri<1n J, Brandstetter
                                                                                                  Assistant General Counsel
                                                                                             bbrandstetter@wentwood.com
                                                                                                  Direct Dial: 817-349-7345



                                                         July 5, 2017

  VIA CERTIFIED MAIL


 Mr. Jolm J. Wimmer
 Centennial Patiners, LLC
 5300 S. 108111 Street, Suite 1
 Hales Comers, WI 53130-1331

 Re:    Centennial LLC (the "Company'?
        Cente11nial Partners, LLC (the ''Managing Member'?
        ORC Tax Credit Fund 10, LLC (the '~nvestor Limited Member'?
        SCDC, LLC (tlte uspecial Limited Member'')


 Dear Mr, Wimmer:

         I write on behalf of the Investor Limited Member and the Special Limited Member of the
Company. The Company is governed by the Amended and Restated Operating Agreement dated
as of August 1, 2000 (the "Operating Agreement"). ORC Tax Credit Fund 10, LLC is the
Investor Limited Member of the Company, and Centennial Partners, LLC is the Man<1ging
Member of the Company. Capitalized terms used herein and not defined shall have the meaning
set forth in the Operating Agreement.

        Section 6.5 (H) of the Operating Agreement provides that, "[i]f requested to do so by the
 Special Limited Membet at any time after the expiration of the Compliance Period (the "Offering
Period"), the Managing Members shall offer the Prope1iy for sale." The Compliance Period has
ended. Accordingly, the Special Limited Member hereby requests the Managing Member to offer
the Property for sale and engage a broker with broad experience in marketing low income housing
projects such as the Property, and that the Property be marketed for sale in a commercially
reasonable manner. We can provide you with the names ofsome brokers we have dealt with in the
past who have such experience.

       Please note that Section 6.5 (H) also provides that, "[i]fsuch a sale shall not be approved
by the Members and consummated within one year after the Special Limited Member so requests"~

              2560 River Park Dr, Suite 320   Fort Worth, Texas 76116   Tel (817} 377-3311   Fax (817} 377-2426




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 and, "[i]f the Special Limited Member elects not to extend the Offering Period, then Cash Flow
 (after payment of the Base Management Fee, Asset Management Fee, and repayment of any loans
 made by the Limited Members) will be shared equally between the Managing Members and the
 Investor Limited Member", as opposed to the current 80%- 20% split in favor of the Managing
 Member.

         The provisions of Section 6.5 (H) are separate and independent of the Managing Member's
 option to acquire the Interests of the Limited Members. Further, the option purchase price, which
 is the Fair Market Value of the Limited Members' Interests, must take into account the l'ights the
 Limited Members have under Section 6.5 (G) and Section 6.5 (H) of the Operating Agreement.
 These sections provide for a sale of the Propetiy if requested by the Special Limited Member,
 which would result in a substantial payment to the Investor Limited Member.

       Please let us know when you have engaged a broker to market the Property, and provide
us with a copy of the engagement agreement.

       If you have any questions, please contact me.

                                             Sincerely,



                                             Brian J. Brandstetter




cc: Nixon Peabody LLP; Attn: Robert H. Adkins, P.C.
   Reinhart. Boerner, Van Dueren, Norris & Reise Ibach, S.C.; Attn: William Cummings, Esq.




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                                                          Exhibit C



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                                              ~
                                              WIMMER
                                              COMMUNITIES


  July 26, 2017

  Bane One Tax Credit Fund IX, LLC                      Nixon Peabody LLP
  c/o Wentwood Capital Advisors, L.P.                   101 Federal Street
  2560 River Park Drive, Suite 320                      Boston, MA 0211 0
  Fort Worth, TX 76116                                  Atin: Robert H. Adkins, P.C.
                                                        File Reference 30598-44

 BOC IX Asset Management, LLC                          Reinhart, Boerner, Van Dueren, No His &
 c/o Bane One Capital Markets                          Reiselbach, S.C.
 150 East Gay Street                                   1000 Nmih Water Street
 Mail Code OH1-1222                                    Milwaukee, WI 53202
 2211d Floor                                           Attn: William Cummings, Esq.
 Columbus, OH 43215
 Attn: Charles W. Ewing, Jr.

 SCDC, LLC                                             ORC Tax Credit Fund 10, LLC
 Wentwood ORC Funds, LLC                               c/o Wentwood Capital Advisors, L.P.
 515 South Capital ofTexas Highway                     515 South Capital of Texas Highway
 Suite 250                                             Suite 103
 Austin, TX 78746                                      Austin, TX 78746
                                                       Attn: Tami Holtz


                      SUPPLEMENTAL NOTICE OF EXERCISE OF
                    MANAGING MEMBERS' OPTION UNDER§ 6.16.A

Re:    Centennial, LLC

Dear Limited Members:

 Centennial Partners, LLC ("Centennial Patiners") is the Managing Member of Centennial, LLC,
(the "Company"). Bane One Tax Credit Fund IX, LLC ("Bane One"), was the original Investor
Limited Member of the Company, and BOC IX Asset Management, LLC ("BOC'') was the
original Special Limited Member of the Company. ORC Tax Credit Fund 10, LLC, is the acting
Investor Limited Member of the Company ("ORC"), and SCDC, LLC, is the acting Special
Limited Member of the Company ("SCDC") (Bane One, BOC, ORC, and SCDC are
collectively referred to as the "Limited Members"). The Company is governed by the Amended
and Restated Operating Agreement dated as of August 1, 2000 (the "Operating Agreement").

                              Distinctive Residential Communities
                         5300 S. 108th Street, Suite 1, Hales Corners, WI 53130-1331
                                  Phone: 414-529-3900 Fax: 414-529-5348                          ,.n:;,;,,r~~~


                                                                                                 UUILDERS
                                      www.wimmercommunities.com                                  -;;:;~



      Case 2:20-cv-01169-BHL Filed 08/27/20 Page 17 of 21 Document 14-5
   Capitalized terms not otherwise defined in this letter shall have the meaning given to those
   terms in the Operating Agreement.

   Please be advised that by letter dated June 19, 2017, Centennial Partners exercised its
  right under Section 6.16.A of the Operating Agteement to purchase the Interest of the
  Limited Members, on the terms and conditions set forth in Section 6.16, and otherwise
  without condition or qualification. Centennial Partners deems such notice valid and
  enforceable, and it received no objection from ORC or SCDC to the sufficiency of such
  notice. As further notice, and to supplement its June 19, 2017, exercise of its right, this
  letter shall confirm that:

  Centennial Partners is exercising its right under Section 6.16.A of the Operating
  Agreement to purchase the Interest of the Limited Members, on the terms and
  conditions set forth in Section 6.16, and otherwise without condition or qualification.

 As provided in Section 6.16.A of the Operating Agreement, at any time during the period
 beginning ninety (90) days prior to the expiration of the Compliance Period and ending
 twelve (12) months after the expiration of the Compliance Period, Centennial Partners
 may exercise its option to purchase the Property or the Interest of the Limited Members.
 The Compliance Period ended on December 31, 2016, and Centennial Partners seeks to
 putchase the Interest of the Limited Members.

 The purchase price for the Interest of the Limited Members shall be the fair market value
 of that Interest, as determined by an appraisal of the Interest. As set forth in Section
6.16.A, the appraiser of the Interest shall be an MAl appraiser with at least five (5) years'
relevant experience, jointly selected by Centennial Partners and the Special Limited
Member. Centennial Pattners has previously suggested that the parties select S. Steven
Vitale, MAl as the appraiser and no objection has been received. For the convenience of
the Special Limited Member, S. Steven Vitale's curriculum vitae is enclosed. Pursuant to
Section 6.16.A, within sixty (60) days of receipt of the appraiser's appraisal report by Centennial
Partners and the Limited Members, Centetmial Partners will provide appropriate documentation
and payment to effectuate the sale of the Limited Members' Interest to Centennial Partners.

If you have any questions, please feel free to contact me. You may reach me at (414) 529-
3900 or via etnail at Jolm@witnmerbrothers.com.

Sincer y,    ~ ~

     Wimmer
Member, Centennial Pariners, LLC

Enclosure
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     Qualifications of S. Steven Vitale, MAI
     Senior Managing Director
     Valbridge Property Advisors I Vitale Realty Advisors, LLC


    Independent Valuations for a Variable World

                                                            Overview
    State Certifications                                 Commercial real estate consultant experienced in a wide
    Wisconsin Certified General Appraiser -              variety of complex appraisal and consulting assignments.
    License No. 506-10                                   Background includes exposure to multiple property types
                                                         and markets. Specialized in valuation of special purpose and
    Education                                            investment property including hotels, golf courses, mixed-
   University of Wisconsin - Madison:                    use land developments, office, retail, industrial, senior
   Masters of Science degree in Real Estate              housing, and multi-family properties. Experienced in
   Appraisal and Investment Analysis.                   condemnation and property tax appraisals and have testified
   Graduated with distinction in May 1991.              as an expert in multiple cases. Working knowledge of
                                                        multiple computer applications for real estate valuation
   University of Wisconsin - Milwaukee:                 analysis. Clients served include financial institutions, banks,
   Bachelor of Business Administration                  insurance companies, corporations, government agencies,
   with majors in finance and real estate.              developers, attorneys and individuals.
   Graduated in August 1988.
                                                        Experience
                                                        2013 - Present
   Designations
                                                        Senior Managing Director
   MAl - Appraisal Institute, Member
                                                        Valbridge Property Advisors I Vitale Realty Advisors, LLC
   (1995)
                                                        1998 - Present
  Organizations                                         Vitale Realty Advisors, LLC- President/Member
 Appraisal Institute                                    Brookfield, Wisconsin
  Commercial Association of Realtors WI
 Univ. of WI Real Estate Alumni Assoc.                  1994-1998
 National Golf Foundation                              Moegenburg Research, Inc.- Appraiser
 WI Innkeepers Association                             Elm Grove, Wisconsin
 International Right of Way Association
                                                       1993-1994
 Contact Details                                       Gloodt Associates, Inc.- Appraiser
 262-782-7990 (p)                                      Chicago, Illinois and Elm Grove, Wisconsin
 262-782-7590 (f)
                                                       1991-1992
 Valbridge Property Advisors I                         Arthur Andersen & Co.- Staff Appraiser
 Vitale Realty Advisors, LLC                           Chicago, Illinois
 12660 W. North Ave.
 Brookfield, WI 53005                                 1988-1989
                                                      Ogden & Co.- Commercial Broker
www.valbridge.corn                                    Milwaukee, Wisconsin
svitale@valbridge.com



VALBRIDGE PROPERTY ADVISORS I Vitale Realty Advisors, LLC




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      Qualifications of S. Steven Vitale/ MAl

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     Representative Clients                                    List of Recent Presentations
     State of Wisconsin
              Dept. of Justice                                 2013    Condemnation     Appraisal     Symposium;      Topic:
              Dept. of Transportation                          Involuntary Secondary Use of Appraisals
             Dept. of Natural Resources
                                                               2013 UW Real Estate Alumni Association; Topic: Behind the
     Municipalities                                            Loan Committee: A Roundtable Discussion
            City of Mequon
            City of Grafton                                   2012   Condemnation    Appraisal     Symposium;     Topic:
            City of Stevens Point                             Measuring Severance Damages in Partial Taking Cases
            City of Waukesha
            City of Brookfield                                2011 Appraisal Institute Year in Review; Topic: The State of
            City of Oak Creek                                 the Office Market
            Waukesha County
                                                              2011 Commercial Association of Realtors Wisconsin
   School Districts                                           Roundtable Forum; Topic: Commercial Property Values
          Waukesha
          Elmbrook                                            2011 Wisconsin State Bar Association Real Estate and
          Mequon                                              Business Law Institute Program; Topic: Real Estate Valuations
          Wauwatosa                                           in the Current Economic Downturn


   Law Firms                                              2011 International Right of Way Association - IRWA Badger
           Foley & Lardner                                Chapter 17; Topic: Golf and Hotel Valuation -With Special
           Michael Best & Friedrich                       Consideration to Partial Taking Impacts
           Reinhart Boerner Van Deuren
           Axley Brynelson                                2011 Condemnation Appraisal Symposium; Topic: Use of
           Whyte Hirschboeck Dudek                        Subsequently Acquired Knowledge in the Determination of
                                                          Just Compensation
  Banks
            BMO Harris Bank                              2009 and 2011 Concordia University - Real Estate
            Associated Bank                              Investments Class MBA Program Guest Speaker; Topic: An
            JP Morgan Chase Bank                         Overview of Commercial Real Estate Appraisal
            Johnson Bank
            US Bank                                      2010 Condemnation Appraisal Symposium; Topic: Damages
            Anchor Bank                                  to Property During Construction:   Compensable? How
                                                         Measured?
 Other
            UW Medical Foundation                        2009 and 2010 Commercial Assoc. of Realtors Wisconsin
            American Transmission Co.                    Roundtable Forum; Topic: Commercial Property Values
            The Conservation Fund
            Schenck SC                                  2009 Appraisal Institute Year in Review; Topic: The State of
            ProHealth Care                              the Retail Market




VALBRIDGE PROPER I Y ADVISORS I Vitale Realty Advisors, llC




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    Information on Valbridge Property Advisors
    Valbridge covers the U.S. from coast to coast, and is one of the Top 3 national commercial real estate
    valuation and advisory services firms based on:

              •     Total number of MAis (163 on staff)
              •     Total number of office locations (60 across the U.S.)
              •     Total number of staff (600+ strong)

    Valbridge is owned by our local office leaders. Every Valbridge office is led by a senior managing
    director who holds the MAl designation of the Appraisal Institute.

   Valbridge services all property types, including:

           •       Office
           •       Industrial
                   Retail
          •        Apartments/multifamily/senior living
          •        Lodging/hospitality/recreational
          •        Land
          •        Special-purpose properties


  Valbridge welcomes single-property assignments as well as portfolio, multi-market and other
  bulk-property engagements. Specialty services include:

       •           Portfolio valuation
       •           REO/foreclosure evaluation
       •           Real estate market and feasibility analysis
       •           Property and lease comparables, including lease review
                   Due diligence
       •           Property tax assessment and appeal-support services
       •          Valuations and analysis of property under eminent domain proceedings
       •          Valuations of property for financial reporting, including goodwill impairment, impairment or
                  disposal of long-lived assets, fair value and leasehold valuations
      •           Valuation of property for insurance, estate planning and trusteeship, including fractional interest
                  valuation for gifting and IRS purposes
      •           Cost segregation studies
                  Litigation support, including expert witness testimony
                  Business and partnership valuation and advisory services, including partial interests




VAL BRIDGE PROPERTY ADVISORS/ Vitale Realty Advisors, llC




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